EXHIBIT F
                                                                                                                               Offense Case #
                                          Harford County Sheriff's Office                                                      201500154261
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                                                     Incident Report
                                                                                                                               Report Type
                                                                                                                               Incident Supplement
                                                                                                                               Date / Time Occurred                                             Date / Time Reported
                                                                                                                               5/1/2015 06:00              to     6/23/2015 14:00               6/23/2015 14:31
Arrested Suspects Additional Suspects Unknown Suspects                Victims        Other Persons            Vehicles             Items         Evidence Count        Leoka Count               Related Case #
                                                                        3                                                               115
Bias Crime                                                Arson                                                    Damage Value


                                                                                                             Incident Details
Unit Number                 Clearance Disposition                                                               Cleared by Exception                                                      Case Status
                            OPEN INVESTIGATION
Situation Found
H15 THEFT-OTHER
                                                                                                            Incident Address
House No.                       Prefix              Street Name
2703                                                PULASKI HWY
Unit No.                 City                                                State                                                Zip                      Post
                         EDGEWOOD                                                                                                                          POST 14
                                                                                                           Administrative Info
Reporting Officer                              Employee Number               Employee Rank                                                Approving Supervisor
BLUBAUGH , JUSTIN                              S644                                                                                       WOLF ,DAWN MICHELLE
Attachments


OFFENSE               Primary Offense

Report Offense
THEFT $200 +/ALL OTHER
Offense Code Value                                                                                               Attempted Completed
0619                                                                                                             COMPLETED
Premise                                                     Circumstances                                                                            Domestic Violence
OTHER (COMMERICAL)                                                                                                                                   NO
Criminal Activity


Gang Activity
NO GANGS
Gang Type #1                                                                                  Gang Name #1


Gang Type #2                                                                                  Gang Name #2


Drug Related                               Drug Type
YES                                        HEROIN
MO Panel
Entry Type                                                             Entry Point                                                             Instrument Used


Weapon


SUSPECT             Known                Unknown           Arrested

Last Name                                                                                                  First Name                                 Middle Name                            Nickname
WOLF                                                                                                       CHARLOTTE                                  FREDA
Race                                                Sex                         SSN                    Date of Birth                     Age                               Age Range                         Weight
CAUCASIAN                                           FEMALE                                             10/04/1953                        61                                     to
Height              Driver's License #                            DL State                                             Place of Birth                                                     SID
                    W-410-115-261-765                             MARYLAND
Marital Status

Preferred                       Home Phone                         Cell Phone                        Email Address
                                410-638-8736
                                                                                                            Suspect Address
House No.                       Prefix              Street Name
918                                                 PROSPECT MILL RD
Unit No.                 City                                                                  State                                                Zip
                         BEL AIR                                                               MARYLAND                                             21015
                                                                                                          Suspect Work Address
                                                     Employer / School                                                                        Occupation
         Student
                                                     ASSOCIATED PAWNBROKERS, LLC                                                              MANAGER
House No.                       Prefix              Street Name
1851                                                PULASKI HWY
Unit No.                 City                                                                  State                                                Zip
                         EDGEWOOD                                                              MARYLAND                                             21040
                                                                                                                 Details
Work Phone                                                  Hours of Employment              Hair Color                                        Hair Length                    Eye Color
                                                                                                                                                                                                                    Glasses
410-679-9970                                                           to
Facial Hair                          Voice                                      Complexion                         Ethnicity                                 Citizenship                         Teeth Descriptor
                                                                                                                   OTHER / NON-HISPANIC
Build
                                                                                            DEF. DOC. NO. 000030
                                                                                                                           Offense Case #
                                         Harford County Sheriff's Office                                                   201500154261
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                                                   Incident Report
                                                                                                                           Report Type
                                                                                                                           Incident Supplement
                                                                                                                           Date / Time Occurred                                            Date / Time Reported
                                                                                                                           5/1/2015 06:00             to    6/23/2015 14:00                6/23/2015 14:31
Build                          Hand Preference               Shirt                           Jacket                             Pants                         Shoes                          Hat


Clothing Description




SUSPECT            Known                Unknown          Arrested

Last Name                                                                                             First Name                                 Middle Name                           Nickname
WOLF                                                                                                  EDWARD                                     THOMAS
Race                                              Sex                         SSN                  Date of Birth                    Age                               Age Range                         Weight
CAUCASIAN                                         MALE                        XXX-XX-XXXX          08/03/1983                       31                                     to                              250
Height             Driver's License #                           DL State                                           Place of Birth                                                    SID
6'02"              W410189792608                                MARYLAND
Marital Status

Preferred                      Home Phone                        Cell Phone                    Email Address
                               410-626-4704                      443-910-3940
                                                                                                       Suspect Address
House No.                      Prefix             Street Name
8                                                 GLENVILLE RD
Unit No.                City                                                               State                                               Zip
                        CHURCHVILLE                                                        MARYLAND                                            21028
                                                                                                    Suspect Work Address
                                                   Employer / School                                                                     Occupation
         Student
                                                   ASSOCIATED PAWN
House No.                      Prefix             Street Name
1851                                              PULASKI HWY
Unit No.                City                                                               State                                               Zip
                        EDGEWOOD
                                                                                                             Details
Work Phone                                                Hours of Employment          Hair Color                                         Hair Length                    Eye Color
                                                                                                                                                                                                               Glasses
                                                                     to                RED OR AUBURN
Facial Hair                         Voice                                     Complexion                       Ethnicity                                Citizenship                         Teeth Descriptor
                                                                                                               OTHER / NON-HISPANIC
Build                          Hand Preference               Shirt                           Jacket                             Pants                         Shoes                          Hat
MEDIUM
Clothing Description




SUSPECT            Known                Unknown          Arrested

Last Name                                                                                             First Name                                 Middle Name                           Nickname
MILLS                                                                                                 JAMES                                      C
Race                                              Sex                         SSN                  Date of Birth                    Age                               Age Range                         Weight
CAUCASIAN                                         MALE                        XXX-XX-XXXX          07/28/1969                       46                                     to                              238
Height             Driver's License #                           DL State                                           Place of Birth                                                    SID
5'10"              M420367119592                                MARYLAND
Marital Status

Preferred                      Home Phone                        Cell Phone                    Email Address
                               410-282-1367                      410-908-9273                  JCSMILLS@GMAIL.COM
                                                                                                       Suspect Address
House No.                      Prefix             Street Name
1812                                              PULASKI HWY
Unit No.                City                                                               State                                               Zip
                        EDGEWOOD                                                           MARYLAND                                            21040
                                                                                                    Suspect Work Address
                                                   Employer / School                                                                     Occupation
         Student
                                                   STARLITE COIN & PAWN LLC                                                              BUSINESS OWNER
House No.                      Prefix             Street Name
1812                                              PULASKI HIGHWAY
Unit No.                City                                                               State                                               Zip
                        EDGEWOOD                                                           MARYLAND                                            21040
                                                                                                             Details
Work Phone                                                Hours of Employment          Hair Color                                         Hair Length                    Eye Color
                                                                                                                                                                                                               Glasses
410-538-4050                                                         to
Facial Hair                         Voice                                     Complexion                       Ethnicity                                Citizenship                         Teeth Descriptor
                                                                                                               OTHER / NON-HISPANIC
Build                          Hand Preference               Shirt                           Jacket                             Pants                         Shoes                          Hat


Clothing Description


                                                                                       DEF. DOC. NO. 000031
                                                                                                                                     Offense Case #
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                                                          Incident Report
                                                                                                                                     Report Type
                                                                                                                                     Incident Supplement
                                                                                                                                     Date / Time Occurred                                                    Date / Time Reported
                                                                                                                                     5/1/2015 06:00               to       6/23/2015 14:00                   6/23/2015 14:31

SUSPECT            Known                  Unknown              Arrested

Last Name                                                                                                         First Name                                 Middle Name                                 Nickname
LEDERGERBER                                                                                                       JEFFERY                                    ANDREW
Race                                                 Sex                             SSN                     Date of Birth                      Age                                Age Range                              Weight
CAUCASIAN                                            MALE                            XXX-XX-XXXX             10/05/1963                         51                                      to                                   220
Height               Driver's License #                             DL State                                                 Place of Birth                                                            SID
5'10"                L-362-390-067-767                              MARYLAND
Marital Status

Preferred                        Home Phone                             Cell Phone                        Email Address
                                                                        410-808-7022
                                                                                                                   Suspect Address
House No.                        Prefix              Street Name
1813                                                 OXFORD SQ
Unit No.                  City                                                                       State                                                 Zip
                          BEL AIR                                                                    MARYLAND                                              21015
                                                                                                                 Suspect Work Address
                                                          Employer / School                                                                          Occupation
         Student
                                                          STARLITE COIN AND PAWN                                                                     BUSINESS OWNER
House No.                        Prefix              Street Name
1812                                                 PULASKI HIGHWAY
Unit No.                  City                                                                       State                                                 Zip
                          EDGEWOOD                                                                   MARYLAND                                              21040
                                                                                                                       Details
Work Phone                                                      Hours of Employment                 Hair Color                                        Hair Length                      Eye Color
                                                                                                                                                                                                                                 Glasses
410-808-7022                                                               to
Facial Hair                           Voice                                          Complexion                          Ethnicity                                   Citizenship                              Teeth Descriptor
                                                                                                                         OTHER / NON-HISPANIC
Build                             Hand Preference                  Shirt                                Jacket                             Pants                             Shoes                             Hat


Clothing Description




 VICTIM              Business

Last Name                                                                                                                             First Name                                           Middle Name
THE HOME DEPOT
Nickname

Race                                                 Sex                             SSN                     Height          Weight           Age Type                 Date of Birth       Age                         Age Range
                                                                                                                                                                                                                           to
Preferred                        Home Phone                             Cell Phone                        Email Address

Driver's License #                                           DL State                                                          Place of Birth


                                                                                                                    Victim Address
House No.                        Prefix               Street Name                                                                                                 Unit No.
5325                                                  NOTTINGHAM DRIVE                                                                                            120
City                                                          State                                                                  Zip
NOTTINGHAM                                                    MARYLAND                                                              21236
                                                                                                             Victim Employer Address
                                                  Employer / School                                                                             Occupation
   Student

House No.                        Prefix              Street Name


Unit No.                  City                                                  State                                                  Zip


                                                                                                                      Details
Work Phone                                                      Hours of Employment                          Hair Color                                      Eye Color                         Build
443-425-1617                                                               to
Citizenship                                   Ethnicity                                    Injury                                               Injury Description


Victim Condition                                                   Victim-Offender Code

                                              Hospital Facility                                                                       Hospital Description
                 Victim Hospitalized

            Under Influence Alcohol?                                    Under Influence Drugs?                                         Domestic Disturbance                                  Domestic Violence Victim Transported



                                                                                                    DEF. DOC. NO. 000032
        Yes         No             Unknown                         Yes          No             Unknown                                                                                                       Yes       No

                                                            Cohabitant
                                                                                                                            Offense Case #
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                                                         Incident Report
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                                                                                                                            Incident Supplement
                                                                                                                            Date / Time Occurred                                          Date / Time Reported
                                                                                                                            5/1/2015 06:00               to       6/23/2015 14:00         6/23/2015 14:31
       Order Of Protection Violated                       Cohabitant
               Yes          No                            Yes          No

                                                                                                         Associated Offenses
Offense
                                                                                                                                                                                         Associated With Victim
THEFT $200 +/ALL OTHER

  VICTIM             Business

Last Name                                                                                                                      First Name                                     Middle Name
LOWES
Nickname

Race                                                Sex                           SSN                  Height         Weight          Age Type                Date of Birth   Age                     Age Range
                                                                                                                                                                                                          to
Preferred                        Home Phone                          Cell Phone                       Email Address

Driver's License #                                        DL State                                                     Place of Birth


                                                                                                            Victim Address
House No.                        Prefix              Street Name                                                                                        Unit No.
414                                                  CONSTANT FRIENDSHIP BLVD
City                                                       State                                                            Zip
ABINGDON                                                   MARYLAND                                                         21009
                                                                                                       Victim Employer Address
                                                 Employer / School                                                                      Occupation
   Student

House No.                        Prefix             Street Name


Unit No.                  City                                              State                                               Zip


                                                                                                                Details
Work Phone                                                   Hours of Employment                       Hair Color                                     Eye Color                 Build
443-456-7080                                                           to
Citizenship                                  Ethnicity                                  Injury                                          Injury Description


Victim Condition                                                 Victim-Offender Code

                                             Hospital Facility                                                                 Hospital Description
                Victim Hospitalized

            Under Influence Alcohol?                                 Under Influence Drugs?                                     Domestic Disturbance                           Domestic Violence Victim Transported
       Yes           No            Unknown                       Yes        No              Unknown                                                                                       Yes         No

       Order Of Protection Violated                       Cohabitant
               Yes          No                            Yes          No

                                                                                                         Associated Offenses
Offense
                                                                                                                                                                                         Associated With Victim
THEFT $200 +/ALL OTHER

  VICTIM             Business

Last Name                                                                                                                      First Name                                     Middle Name
WALMART                                                                                                                        ABINGDON
Nickname

Race                                                Sex                           SSN                  Height         Weight          Age Type                Date of Birth   Age                     Age Range
                                                                                                                                                                                                          to
Preferred                        Home Phone                          Cell Phone                       Email Address

Driver's License #                                        DL State                                                     Place of Birth


                                                                                                            Victim Address
House No.                        Prefix              Street Name                                                                                        Unit No.
401                                                  CONSTANT FRIENDSHIP BLVD
City                                                       State                                                            Zip
ABINGDON                                                   MARYLAND                                                         21009
                                                                                                       Victim Employer Address
                                                 Employer / School                                                                      Occupation


                                                                                                 DEF. DOC. NO. 000033
   Student

House No.                        Prefix             Street Name
                                                                                                                           Offense Case #
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                                                        Incident Report
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                                                                                                                           5/1/2015 06:00              to      6/23/2015 14:00            6/23/2015 14:31
House No.                       Prefix              Street Name


Unit No.                 City                                                State                                              Zip


                                                                                                             Details
Work Phone                                                      Hours of Employment                 Hair Color                                     Eye Color                    Build
                                                                          to
Citizenship                                 Ethnicity                                 Injury                                          Injury Description


Victim Condition                                                  Victim-Offender Code

                                            Hospital Facility                                                               Hospital Description
               Victim Hospitalized

           Under Influence Alcohol?                                  Under Influence Drugs?                                     Domestic Disturbance                          Domestic Violence Victim Transported
     Yes            No            Unknown                         Yes        No           Unknown                                                                                          Yes       No

        Order Of Protection Violated                      Cohabitant
              Yes          No                             Yes           No

                                                                                                          Associated Offenses
Offense
                                                                                                                                                                                          Associated With Victim
THEFT $200 +/ALL OTHER

                    Quantity             Category                                              Action
PROPERTY
                    1                    PROPERTY                                              SEIZED
Owner                                                                                                             Value
Victim: THE HOME DEPOT ,                                                                                          $159.00
Brand                                                   Model                                           Color                                      Serial Number
BOSCH                                                   12V IMPACT DRILL                                BLUE                                       412035291
Property Type                                Secondary Action                                                              Recovered Value
MISCELLANEOUS
Date Recovered


                                                                                                         Additional Description
PLACED INTO PROPERTY, SEIZED FROM ASSOCIATED TRANSACTION #97764
                                                                                                          Associated Offenses
Offense
                                                                                                                                                               Associated With Property
THEFT $200 +/ALL OTHER
                    Quantity             Category                                              Action
PROPERTY
                    1                    PROPERTY                                              SEIZED
Owner                                                                                                             Value
Victim: THE HOME DEPOT ,                                                                                          $129.00
Brand                                                   Model                                           Color                                      Serial Number
MILWAUKEE                                               BATTERY XC5.0                                   BLACK
Property Type                                Secondary Action                                                              Recovered Value
MISCELLANEOUS
Date Recovered


                                                                                                         Additional Description
PLACED INTO PROPERTY, MODEL 48111850, SEIZED FROM ASSOCIATED TRANSACTION # 98053
                                                                                                          Associated Offenses
Offense
                                                                                                                                                               Associated With Property
THEFT $200 +/ALL OTHER
                    Quantity             Category                                              Action
PROPERTY
                    2                    PROPERTY                                              SEIZED
Owner                                                                                                             Value
Victim: THE HOME DEPOT ,                                                                                          $198.00
Brand                                                   Model                                           Color                                      Serial Number
RIDGID                                                  18V BATTERY                                     BLACK                                      0827511506
Property Type                                Secondary Action                                                              Recovered Value
MISCELLANEOUS
Date Recovered


                                                                                                         Additional Description
PLACED INTO PROPERTY, SEIZED FROM ASSOCIATED TRANSACTION # 98053
                                                                                                          Associated Offenses
Offense
                                                                                                                                                               Associated With Property
THEFT $200 +/ALL OTHER
                    Quantity             Category                                              Action
PROPERTY
                    2                    PROPERTY                                              SEIZED
Owner                                                                                                             Value



                                                                                               DEF. DOC. NO. 000034
Victim: THE HOME DEPOT ,                                                                                          $198.00
                                                        Model                                           Color                                      Serial Number
                                                                                          Offense Case #
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                                       Incident Report
                                                                                          Report Type
                                                                                          Incident Supplement
                                                                                          Date / Time Occurred                                      Date / Time Reported
                                                                                          5/1/2015 06:00           to    6/23/2015 14:00            6/23/2015 14:31
Brand                                  Model                           Color                                    Serial Number
RIDGID                                 18V BATTERY                     BLACK                                    0856071506
Property Type                   Secondary Action                                          Recovered Value
MISCELLANEOUS
Date Recovered


                                                                        Additional Description
PLACED INTO PROPERTY, SEIZED FROM ASSOCIATED TRANSACTION # 98066
                                                                         Associated Offenses
Offense
                                                                                                                         Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                          Action
PROPERTY
                 2          PROPERTY                          SEIZED
Owner                                                                            Value
Victim: THE HOME DEPOT ,                                                         $198.00
Brand                                  Model                           Color                                    Serial Number
DEWALT                                 20V MAX LITH BATTERY            BLACK                                    2015084921/201516492
Property Type                   Secondary Action                                          Recovered Value
MISCELLANEOUS
Date Recovered


                                                                        Additional Description
PLACED INTO PROPERTY MODEL DCB 200, SEIZED FROM ASSOCIATED TRANSACTION # 98115
                                                                         Associated Offenses
Offense
                                                                                                                         Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                          Action
PROPERTY
                 1          PROPERTY                          SEIZED
Owner                                                                            Value
Victim: THE HOME DEPOT ,                                                         $119.00
Brand                                  Model                           Color                                    Serial Number
DEWALT                                 DCF 885R
Property Type                   Secondary Action                                          Recovered Value
MISCELLANEOUS
Date Recovered


                                                                        Additional Description
PLACED INTO PROPERTY, MODEL 1/4" IMPACT DRILL/DRIVER, SEIZED FROM ASSOCIATED TRANSACTION # 98115
                                                                         Associated Offenses
Offense
                                                                                                                         Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                          Action
PROPERTY
                 1          PROPERTY                          SEIZED
Owner                                                                            Value
Victim: THE HOME DEPOT ,                                                         $99.00
Brand                                  Model                           Color                                    Serial Number
RIDGID                                 R862004                         BLACK                                    CS14433D150383
Property Type                   Secondary Action                                          Recovered Value
MISCELLANEOUS
Date Recovered


                                                                        Additional Description
PLACED INTO PROPERTY, 18V MULTI TOOL, SEIZED FROM ASSOCIATED TRANSACTION # 98137
                                                                         Associated Offenses
Offense
                                                                                                                         Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                          Action
PROPERTY
                 2          PROPERTY                          SEIZED
Owner                                                                            Value
Victim: THE HOME DEPOT ,                                                         $198.00
Brand                                  Model                           Color                                    Serial Number
RIDGID                                 18V BATTERY                     BLACK                                    085609/085611
Property Type                   Secondary Action                                          Recovered Value
MISCELLANEOUS
Date Recovered


                                                                        Additional Description
PLACED INTO PROPERTY, SEIZED FROM ASSOCIATED TRANSACTION # 98137
                                                                         Associated Offenses


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                                                                                     Incident Supplement
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                                                                                     5/1/2015 06:00
                                                                    Associated Offenses
                                                                                                              to    6/23/2015 14:00            6/23/2015 14:31
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $139.00
Brand                                  Model                      Color                                    Serial Number
RIDGID                                 R86010B                    BLACK                                    CS15103DA80345
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, SEIZED FROM ASSOCIATED TRANSACTION # 98137
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $99.00
Brand                                  Model                      Color                                    Serial Number
MAKITA                                 82BL1830CA                 BLUE
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, SEIZED FROM ASSOCIATED TRANSACTION # 98239
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $139.00
Brand                                  Model                      Color                                    Serial Number
MILWAUKEE                              2612-20                                                             F28BD151100631
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 5/8" SDS + ROTARY HAMMER, SEIZED FROM ASSOCIATED TRANSACTION # 98239
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $139.00
Brand                                  Model                      Color                                    Serial Number
RIDGID                                 R86010B                    BLACK                                    CS15102DA80400
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 18 VOLT 1/2" COMPACT IMPACT WRENCH, SEIZED FROM ASSOCIATED TRANSACTION # 98239
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $119.00
Brand                                  Model                      Color                                    Serial Number
DEWALT                                 DCF85B                     BLACK                                    098042
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered
                                                       DEF. DOC. NO. 000036
                                                                                     Offense Case #
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Date Recovered
                                                                                     5/1/2015 06:00           to    6/23/2015 14:00            6/23/2015 14:31


                                                                   Additional Description
PLACED INTO PROPERTY, 1/4" IMPACT DRIVER, SEIZED FROM ASSOCIATED TRANSACTION #98248
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $99.00
Brand                                  Model                      Color                                    Serial Number
MAKITA                                 XMT03Z                                                              24653
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 18 VOLD LITHIUM ION CORDLESS MULTI TOOL, SEIZED FROM ASSOCIATED TRANSACTION #98248
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $149.00
Brand                                  Model                      Color                                    Serial Number
RIDGID                                 R9000K                                                              CS1445D040495
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 12 VOLT 2 SPEED DRILL/DRIVER IMPACT DRIVER COMBO, 2ND SERIAL NUMBER SCF14455N020039, SEIZED FROM ASSOCIATED
TRANSACTION #98254                                              Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $129.00
Brand                                  Model                      Color                                    Serial Number
MILWAUKEE                              48111850
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, M18 RED LITHIUM XC5.0 EXTENDED CAPACITY BATTERY PACK, SEIZED FROM ASSOCIATED TRANSACTION #98254
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $119.00
Brand                                  Model                      Color                                    Serial Number
DEWALT                                 DCB200-2                                                            2015164922
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 2 PACK 20 VOLT BATTERY PACK, SEIZED FROM ASSOCIATED TRANSACTION #98271
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,
                                       Model           DEF. DOC. NO. 000037
                                                                  Color
                                                                            $119.00
                                                                                                           Serial Number
                                                                                      Offense Case #
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                                       Incident Report
                                                                                      Report Type
                                                                                      Incident Supplement
                                                                                      Date / Time Occurred                                      Date / Time Reported
                                                                                      5/1/2015 06:00           to    6/23/2015 14:00            6/23/2015 14:31
Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DCD740B                                                              260475
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 3/8" RIGHT DRILL/DRIVER, SEIZED FROM ASSOCIATED TRANSACTION #98271
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $119.00
Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DCF885B                                                              784747
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, IMPACT DRIVER, SEIZED FROM ASSOCIATED TRANSACTION #98271
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $99.00
Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DCB200-2
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 2 PACK 20 VOLT BATTERY, SEIZED FROM ASSOCIATED TRANSACTION #98281
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $119.00
Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DCD740B                                                              263238
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 3/8" RIGHT ANGLE DRILL/DRIVER, SEIZED FROM ASSOCIATED TRANSACTION #98281
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $299.00
Brand                                  Model                       Color                                    Serial Number
MAKITA                                 HR2811FX                                                             177570
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 1 1/8" ROTARY HAMMER, SEIZED FROM ASSOCIATED TRANSACTION #98281
                                                                     Associated Offenses


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                                                                                      Incident Supplement
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                                                                                      5/1/2015 06:00
                                                                     Associated Offenses
                                                                                                               to    6/23/2015 14:00            6/23/2015 14:31
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $129.00
Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DCS355B                                                              008339
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, BRUSCHLESS OSCILLATING MULIT TOOL, SEIZED FROM ASSOCIATED TRANSACTION #98299
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $99.00
Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DCB200-2
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 2 PACK 20 VOLT BATTERIES, SEIZED FROM ASSOCIATED TRANSACTION #98299
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $129.00
Brand                                  Model                       Color                                    Serial Number
MILWAUKEE                              48111850
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, M18 BATTERY RED LITHIUM, SEIZED FROM ASSOCIATED TRANSACTION #98299
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $119.00
Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DCD740B                                                              263238
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 3/8" RIGHT ANGLE DRILL/DRIVER, SEIZED FROM ASSOCIATED TRANSACTION #98299
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $169.00
Brand                                  Model                       Color                                    Serial Number
MILWAUKEE                              266320                                                               B80BD15040070
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered
                                                        DEF. DOC. NO. 000039
                                                                                     Offense Case #
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Date Recovered
                                                                                     5/1/2015 06:00           to    6/23/2015 14:00            6/23/2015 14:31


                                                                   Additional Description
PLACED INTO PROPERTY, M18 CORDLESS 1/2" HI TORQUE IMPACT WRENCH W/FRICTION RING, SEIZED FROM ASSOCIATED TRANSACTION #98299
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $114.99
Brand                                  Model                      Color                                    Serial Number
DEWALT                                 DC909625
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 18 VOLT HEAVY DUTY SCRP 18V BATTERY COMBO, SEIZED FROM ASSOCIATED TRANSACTION #98309
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $129.00
Brand                                  Model                      Color                                    Serial Number
DEWALT                                 DCD950B                                                             66490
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 1/2" HAMMER DRILL, SEIZED FROM ASSOCIATED TRANSACTION #98309
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 2          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $198.00
Brand                                  Model                      Color                                    Serial Number
DEWALT                                 DC825B                                                              385599/318053
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 1/4" IMPACT DRIVER, SEIZED FROM ASSOCIATED TRANSACTION #98309
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $99.00
Brand                                  Model                      Color                                    Serial Number
RIDGID                                 AC840087                                                            082124
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 18 VOLT LITHIUM BATTERY, SEIZED FROM ASSOCIATED TRANSACTION #98342
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,
                                       Model           DEF. DOC. NO. 000040
                                                                  Color
                                                                            $99.00
                                                                                                           Serial Number
                                                                                         Offense Case #
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                                                                                         Incident Supplement
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                                                                                         5/1/2015 06:00           to    6/23/2015 14:00            6/23/2015 14:31
Brand                                  Model                          Color                                    Serial Number
RIDGID                                 R862004                                                                 028052
Property Type                   Secondary Action                                         Recovered Value
MISCELLANEOUS
Date Recovered


                                                                       Additional Description
PLACED INTO PROPERTY, 18 VOLT MULTI TOOL, SEIZED FROM ASSOCIATED TRANSACTION #98342
                                                                        Associated Offenses
Offense
                                                                                                                        Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                         Action
PROPERTY
                 1          PROPERTY                         SEIZED
Owner                                                                           Value
Victim: WALMART, ABINGDON                                                       $42.99
Brand                                  Model                          Color                                    Serial Number
STANLEY                                33 PIECE SOCKET SET
Property Type                   Secondary Action                                         Recovered Value
MISCELLANEOUS
Date Recovered


                                                                       Additional Description
PLACED INTO PROPERTY, SEIZED FROM ASSOCIATED TRANSACTION #98342
                                                                        Associated Offenses
Offense
                                                                                                                        Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                         Action
PROPERTY
                 1          PROPERTY                         SEIZED
Owner                                                                           Value
Victim: THE HOME DEPOT ,                                                        $139.00
Brand                                  Model                          Color                                    Serial Number
MILWAUKEE                              48111822
Property Type                   Secondary Action                                         Recovered Value
MISCELLANEOUS
Date Recovered


                                                                       Additional Description
PLACED INTO PROPERTY, 2 PACK M18 RED LITHIUM XC EXT CAP BATTERY,SEIZED FROM ASSOCIATED TRANSACTION #98365
                                                                        Associated Offenses
Offense
                                                                                                                        Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                         Action
PROPERTY
                 1          PROPERTY                         SEIZED
Owner                                                                           Value
Victim: THE HOME DEPOT ,                                                        $99.00
Brand                                  Model                          Color                                    Serial Number
DEWALT                                 DCB2002
Property Type                   Secondary Action                                         Recovered Value
MISCELLANEOUS
Date Recovered


                                                                       Additional Description
PLACED INTO PROPERTY, 2 PACK 20 VOLT MAX LITHIUM ION BATTERY, SEIZED FROM ASSOCIATED TRANSACTION #98365
                                                                        Associated Offenses
Offense
                                                                                                                        Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                         Action
PROPERTY
                 1          PROPERTY                         SEIZED
Owner                                                                           Value
Victim: THE HOME DEPOT ,                                                        $119.00
Brand                                  Model                          Color                                    Serial Number
DEWALT                                 DCD740B
Property Type                   Secondary Action                                         Recovered Value
MISCELLANEOUS
Date Recovered


                                                                       Additional Description
PLACED INTO PROPERTY, 3/8" RIGHT ANGLE DRILL/DRIVER, SEIZED FROM ASSOCIATED TRANSACTION #98365
                                                                        Associated Offenses


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                                                                                     Incident Supplement
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                                                                                     5/1/2015 06:00
                                                                    Associated Offenses
                                                                                                              to    6/23/2015 14:00            6/23/2015 14:31
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 2          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $198.00
Brand                                  Model                      Color                                    Serial Number
RIDGID                                 18 VOLT BATTERY                                                     037890 / 079158
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, SEIZED FROM ASSOCIATED TRANSACTION #98377
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 2          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $198.00
Brand                                  Model                      Color                                    Serial Number
RIDGID                                 R862004                                                             037890 / 079158
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 18 VOLT MULTI TOOL, SEIZED FROM ASSOCIATED TRANSACTION #98377
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $99.00
Brand                                  Model                      Color                                    Serial Number
DEWALT                                 N390342                                                             2015044911
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 20 VOLT BATTERY, SEIZED FROM ASSOCIATED TRANSACTION #98377
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $119.00
Brand                                  Model                      Color                                    Serial Number
DEWALT                                 DCD740B                                                             231919
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 3/8" RIGHT ANGLE DRILL/DRIVER, SEIZED FROM ASSOCIATED TRANSACTION #
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $119.00
Brand                                  Model                      Color                                    Serial Number
DEWALT                                 DCD740B                                                             258445
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered
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Date Recovered
                                                                                      5/1/2015 06:00           to    6/23/2015 14:00            6/23/2015 14:31


                                                                    Additional Description
PLACED INTO PROPERTY, 3/8" RIGHT ANGLE DRILL/DRIVER, SEIZED FROM ASSOCIATED TRANSACTION #98399
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $139.00
Brand                                  Model                       Color                                    Serial Number
RIDGID                                 R86010B                                                              CS15102DA80402
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 18 VOLT 1/2" COMPACT IMPACT WRENCH, SEIZED FROM ASSOCIATED TRANSACTION #
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $99.00
Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DCB200-2
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 2 PACK 20 VOLT LITHIUM ION BATTERY, SEIZED FROM ASSOCIATED TRANSACTION #98399
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $99.00
Brand                                  Model                       Color                                    Serial Number
RIDGID                                 AC840087
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 18 VOLT LITHIUM ION BATTERY, SEIZED FROM ASSOCIATED TRANSACTION #98399
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $399.00
Brand                                  Model                       Color                                    Serial Number
PASLODE                                IM250ALI                                                             15191T0183
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 16 GAUGE ANGLED CORDLESS TRIM NAILER, SEIZED FROM ASSOCIATED TRANSACTION #98415
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,
                                       Model            DEF. DOC. NO. 000043
                                                                   Color
                                                                             $159.00
                                                                                                            Serial Number
                                                                                     Offense Case #
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Brand                                  Model                      Color                                    Serial Number
DEWALT                                 DCF889                                                              906972
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 1/2" IMPACT WRENCH W/DETENT PIN, SEIZED FROM ASSOCIATED TRANSACTION #98415
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $159.00
Brand                                  Model                      Color                                    Serial Number
DEWALT                                 DCF889B                                                             898877
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 1/2" IMPACT WRENCH, SEIZED FROM ASSOCIATED TRANSACTION #98428
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $169.00
Brand                                  Model                      Color                                    Serial Number
MILWAUKEE                              2663-20                                                             B8BD15041367
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, M18 CORDLESS 1/2" HI TORQUE IMPACT WRENCH W/FRICTION RING, SEIZED FROM ASSOCIATED TRANSACTION #98428
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $119.00
Brand                                  Model                      Color                                    Serial Number
MAKITA                                 XMT032                                                              24817
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 18 VOLT LITHIUM ION CORDLESS MULTI TOOL, SEIZED FROM ASSOCIATED TRANSACTION #98428
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $149.00
Brand                                  Model                      Color                                    Serial Number
DEWALT                                 DCS331B                                                             904482
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, JIGSAW, SEIZED FROM ASSOCIATED TRANSACTION #98428
                                                                    Associated Offenses


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                                                                                     5/1/2015 06:00
                                                                    Associated Offenses
                                                                                                              to    6/23/2015 14:00            6/23/2015 14:31
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $99.00
Brand                                  Model                      Color                                    Serial Number
MAKITA                                 XDT04Z                                                              126512A
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 18 VOLT LITHIUM ION IMPACT DRIVER, SEIZED FROM ASSOCIATED TRANSACTION #98446
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $119.00
Brand                                  Model                      Color                                    Serial Number
DEWALT                                 DCF885B                                                             509582
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 1/4" IMPACT DRIVER, SEIZED FROM ASSOCIATED TRANSACTION #98446
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $129.00
Brand                                  Model                      Color                                    Serial Number
DEWALT                                 DC330B                                                              821052
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, JIGSAW W/ALL METAL KEYLESS BLADE CLAMP, SEIZED FROM ASSOCIATED TRANSACTION #98446
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $99.00
Brand                                  Model                      Color                                    Serial Number
DEWALT                                 DC9096-2S
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 2 PACK 18 VOLT BATTERY, SEIZED FROM ASSOCIATED TRANSACTION #98446
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $99.00
Brand                                  Model                      Color                                    Serial Number
RIDGID                                 R862004                                                             029131
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered
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                                                                                     Offense Case #
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                                                                                     Incident Supplement
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Date Recovered
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                                                                   Additional Description
PLACED INTO PROPERTY, 18 VOLT MULTI TOOL, SEIZED FROM ASSOCIATED TRANSACTION #98465
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $119.00
Brand                                  Model                      Color                                    Serial Number
DEWALT                                 DCF885B                                                             493051
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 1/4" IMPACT DRIVER, SEIZED FROM ASSOCIATED TRANSACTION #98465
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $129.00
Brand                                  Model                      Color                                    Serial Number
DEWALT                                 DCD950B                                                             661665
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 1/2" HAMMER DRILL/DRIVER, SEIZED FROM ASSOCIATED TRANSACTION #98465
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $129.00
Brand                                  Model                      Color                                    Serial Number
DEWALT                                 DC330B                                                              821034
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, JIGSAW ALL METAL KEYLESS BLADE CLAMP, SEIZED FROM ASSOCIATED TRANSACTION #98465
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $99.00
Brand                                  Model                      Color                                    Serial Number
RIDGID                                 AC840087
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 18 VOLT BATTERY, SEIZED FROM ASSOCIATED TRANSACTION #98465
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,
                                       Model           DEF. DOC. NO. 000046
                                                                  Color
                                                                            $99.00
                                                                                                           Serial Number
                                                                                      Offense Case #
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                                                                                      Report Type
                                                                                      Incident Supplement
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                                                                                      5/1/2015 06:00           to    6/23/2015 14:00            6/23/2015 14:31
Brand                                  Model                       Color                                    Serial Number
RIDGID                                 R24012                                                               CS15143D
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 1 1/2 PEAK HP COMPACT ROUTER, SEIZED FROM ASSOCIATED TRANSACTION #98477
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $69.00
Brand                                  Model                       Color                                    Serial Number
RIDGID                                 AC840086                                                             0212151505
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 18 VOLT LITHIUM ION BATTERY, SEIZED FROM ASSOCIATED TRANSACTION #98477
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $249.00
Brand                                  Model                       Color                                    Serial Number
MILWAUKEE                              2607-20/2656-20                                                      F26AD14111
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, M18 2 TOOL COMBO KIT 1/2" COMP DRILL/DRIVER & 1/4" HEX COMP DRIVER F26AD141112019, SEIZED FROM ASSOCIATED TRANSACTION
#98527                                                           Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 2          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $179.00
Brand                                  Model                       Color                                    Serial Number
MILWAUKEE                              2612-20                                                              F28AD13430481
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, M18 5/8" SDS + ROTARY HAMMER, SERIAL F28BD151100627, SEIZED FROM ASSOCIATED TRANSACTION #98527
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $149.00
Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DCS331B                                                              928599
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 20 VOLT JIGSAW, SEIZED FROM ASSOCIATED TRANSACTION #98527
                                                                     Associated Offenses


                                                         DEF. DOC. NO. 000047
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                                                                                      Incident Supplement
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                                                                                      5/1/2015 06:00
                                                                     Associated Offenses
                                                                                                               to    6/23/2015 14:00            6/23/2015 14:31
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $159.00
Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DCF889B                                                              898425
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 1/2" IMPACT WRENCH W/DETENT PIN, SEIZED FROM ASSOCIATED TRANSACTION #98547
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $129.00
Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DC330B                                                               837427
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, JIGSAW W/ALL METAL KEYLESS CLAMP, SEIZED FROM ASSOCIATED TRANSACTION #98547
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $221.00
Brand                                  Model                       Color                                    Serial Number
MILWAUKEE                              2621-21                                                              009AD1435
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, M18 SAWZALL CORDLESS RECIP SAW KIT, SEIZED FROM ASSOCIATED TRANSACTION #98547
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $149.00
Brand                                  Model                       Color                                    Serial Number
RIDGID                                 R9000K                                                               CS15046NB00213
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 12 VOLT 2 SPEED DRILL/DRIVER + IMPACT DRIVER CS15043D190110, SEIZED FROM ASSOCIATED TRANSACTION #98560
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $99.00
Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DCD710S2                                                             962793
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered
                                                        DEF. DOC. NO. 000048
                                                                                       Offense Case #
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                                                                                       Incident Supplement
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Date Recovered
                                                                                       5/1/2015 06:00           to    6/23/2015 14:00            6/23/2015 14:31


                                                                     Additional Description
PLACED INTO PROPERTY, 3/8" DRILL/DRIVER KIT, SEIZED FROM ASSOCIATED TRANSACTION #98560
                                                                      Associated Offenses
Offense
                                                                                                                      Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                       Action
PROPERTY
                 1          PROPERTY                       SEIZED
Owner                                                                         Value
Victim: THE HOME DEPOT ,                                                      $99.00
Brand                                  Model                        Color                                    Serial Number
DEWALT                                 DCF6102S                                                              915197
Property Type                   Secondary Action                                       Recovered Value
MISCELLANEOUS
Date Recovered


                                                                     Additional Description
PLACED INTO PROPERTY, SCREWDRIVER, SEIZED FROM ASSOCIATED TRANSACTION #98560
                                                                      Associated Offenses
Offense
                                                                                                                      Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                       Action
PROPERTY
                 1          PROPERTY                       SEIZED
Owner                                                                         Value
Victim: THE HOME DEPOT ,                                                      $129.00
Brand                                  Model                        Color                                    Serial Number
MILWAUKEE                              2645-20                                                               C07BD14520377
Property Type                   Secondary Action                                       Recovered Value
MISCELLANEOUS
Date Recovered


                                                                     Additional Description
PLACED INTO PROPERTY, M18 JIGSAW, SEIZED FROM ASSOCIATED TRANSACTION #98560
                                                                      Associated Offenses
Offense
                                                                                                                      Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                       Action
PROPERTY
                 1          PROPERTY                       SEIZED
Owner                                                                         Value
Victim: THE HOME DEPOT ,                                                      $119.00
Brand                                  Model                        Color                                    Serial Number
DEWALT                                 DCG412B                                                               851227
Property Type                   Secondary Action                                       Recovered Value
MISCELLANEOUS
Date Recovered


                                                                     Additional Description
PLACED INTO PROPERTY, 4 1/2" / 5" GRINDER, SEIZED FROM ASSOCIATED TRANSACTION #98565
                                                                      Associated Offenses
Offense
                                                                                                                      Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                       Action
PROPERTY
                 1          PROPERTY                       SEIZED
Owner                                                                         Value
Victim: THE HOME DEPOT ,                                                      $163.70
Brand                                  Model                        Color                                    Serial Number
DEWALT                                 DW292K                                                                403732
Property Type                   Secondary Action                                       Recovered Value
MISCELLANEOUS
Date Recovered


                                                                     Additional Description
PLACED INTO PROPERTY, 1/2" REV. IMPACT WRENCH, SEIZED FROM ASSOCIATED TRANSACTION #98565
                                                                      Associated Offenses
Offense
                                                                                                                      Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                       Action
PROPERTY
                 1          PROPERTY                       SEIZED
Owner                                                                         Value
Victim: THE HOME DEPOT ,
                                       Model             DEF. DOC. NO. 000049
                                                                    Color
                                                                              $129.00
                                                                                                             Serial Number
                                                                                     Offense Case #
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Brand                                  Model                      Color                                    Serial Number
DEWALT                                 DCS355B                                                             094406
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, BURSHLESS OSCILLATING MULTI TOOL, SEIZED FROM ASSOCIATED TRANSACTION #98565
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $169.00
Brand                                  Model                      Color                                    Serial Number
SKILSAW                                SHD77M-22                                                           409955043
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 7 1/4" WORM DRIVE, SEIZED FROM ASSOCIATED TRANSACTION #98573
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $269.00
Brand                                  Model                      Color                                    Serial Number
RIDGID                                 AIR COMPRESSOR                                                      21733
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, MOBILEAIR TR-STACK 5 GAL AIR COMPRESSOR, SEIZED FROM ASSOCIATED TRANSACTION #98598
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $99.00
Brand                                  Model                      Color                                    Serial Number
RIDGID                                 R24012                                                              CS14525D
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 1 1/2 PEAK HP COMPACT ROUTER, SEIZED FROM ASSOCIATED TRANSACTION #98598
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $99.00
Brand                                  Model                      Color                                    Serial Number
HUSKY                                  R24012                                                              CS14525D
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 1/2" IMPACT WRENCH, SEIZED FROM ASSOCIATED TRANSACTION #98598
                                                                    Associated Offenses


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                                                                                      5/1/2015 06:00
                                                                     Associated Offenses
                                                                                                               to    6/23/2015 14:00            6/23/2015 14:31
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $129.00
Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DC330B                                                               827169
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, JIGSAW W/ALL METAL KEYLESS BLADE CLAMP, SEIZED FROM ASSOCIATED TRANSACTION #98598
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $119.00
Brand                                  Model                       Color                                    Serial Number
MAKITA                                 XMT03Z                                                               3240Y
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 18 VOLT CORDLESS MULTI TOOL, SEIZED FROM ASSOCIATED TRANSACTION #98598
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $99.00
Brand                                  Model                       Color                                    Serial Number
MILWAUKEE                              48111828                                                             B41ND086508
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, M18 RED LITHIUM BATTERY, SEIZED FROM STARLITE TRANSACTION #36593
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 2          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: LOWES,                                                               $198.00
Brand                                  Model                       Color                                    Serial Number
MAKITA                                 BL1830
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 18 VOLT LXT LITHIUM ION BATTERY, SEIZED FROM STARLITE TRANSACTION #36608
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $69.00
Brand                                  Model                       Color                                    Serial Number
RIDGID                                 R840087
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered
                                                        DEF. DOC. NO. 000051
                                                                                        Offense Case #
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Date Recovered
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                                                                      Additional Description
PLACED INTO PROPERTY, 18 VOLT HI CAP. LITHIUM ION BATTERY, SEIZED FROM STARLITE TRANSACTION #36608
                                                                       Associated Offenses
Offense
                                                                                                                       Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                        Action
PROPERTY
                 1          PROPERTY                        SEIZED
Owner                                                                          Value
Victim: THE HOME DEPOT ,                                                       $119.00
Brand                                  Model                         Color                                    Serial Number
DEWALT                                 DCF885B                                                                500654
Property Type                   Secondary Action                                        Recovered Value
MISCELLANEOUS
Date Recovered


                                                                      Additional Description
PLACED INTO PROPERTY, 1/4" IMPACT DRIVER, SEIZED FROM STARLITE TRANSACTION #36608
                                                                       Associated Offenses
Offense
                                                                                                                       Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                        Action
PROPERTY
                 1          PROPERTY                        SEIZED
Owner                                                                          Value
Victim: THE HOME DEPOT ,                                                       $139.00
Brand                                  Model                         Color                                    Serial Number
DEWALT                                 DCD710S2                                                               098206
Property Type                   Secondary Action                                        Recovered Value
MISCELLANEOUS
Date Recovered


                                                                      Additional Description
PLACED INTO PROPERTY, DRILL DRIVER KIT, SEIZED FROM STARLITE TRANSACTION #36623
                                                                       Associated Offenses
Offense
                                                                                                                       Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                        Action
PROPERTY
                 2          PROPERTY                        SEIZED
Owner                                                                          Value
Victim: LOWES,                                                                 $218.00
Brand                                  Model                         Color                                    Serial Number
MAKITA                                 LXT 18 VOLT BATTEY                                                     142918ZWS800806C
Property Type                   Secondary Action                                        Recovered Value
MISCELLANEOUS
Date Recovered


                                                                      Additional Description
PLACED INTO PROPERTY, 158214KVD03533, SEIZED FROM STARLITE TRANSACTION #36623
                                                                       Associated Offenses
Offense
                                                                                                                       Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                        Action
PROPERTY
                 1          PROPERTY                        SEIZED
Owner                                                                          Value
Suspect: LEDERGERBER, JEFFERY                                                  $126.14
Brand                                  Model                         Color                                    Serial Number
HOME DEPOT                             GIFT CARD                                                              98061493188267149997
Property Type                   Secondary Action                                        Recovered Value
MISCELLANEOUS
Date Recovered


                                                                      Additional Description
PLACED INTO PROPERTY, 98061493188267149997419, SEIZED FROM STARLITE TRANSACTION #36752
                                                                       Associated Offenses
Offense
                                                                                                                       Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                        Action
PROPERTY
                 1          PROPERTY                        SEIZED
Owner                                                                          Value
Victim: THE HOME DEPOT ,
                                       Model                DEF. DOC. NO. 000052
                                                                     Color
                                                                               $149.00
                                                                                                              Serial Number
                                                                                      Offense Case #
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Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DCS331B                                                              939659
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 20 VOLT MAX JIGSAW, SEIZED FROM STARLITE TRANSACTION #36757
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $104.94
Brand                                  Model                       Color                                    Serial Number
HOME DEPOT                             GIFT CARD                                                            98061494780962669997
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 98061494780962669997415, SEIZED FROM STARLITE TRANSACTION #36757
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $99.00
Brand                                  Model                       Color                                    Serial Number
RIDGID                                 18 VOLT BATTERY
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, SEIZED FROM STARLITE TRANSACTION #36764
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $99.00
Brand                                  Model                       Color                                    Serial Number
DREMEL                                 UTILITY SAW                                                          50211
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, SEIZED FROM STARLITE TRANSACTION #36764
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $299.00
Brand                                  Model                       Color                                    Serial Number
MILWAUKEE                              2799-22CX                                                            G40AD151304230
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, M18 2 TOOL COMBO KIT G41AD151305787, SEIZED FROM STARLITE TRANSACTION #36764
                                                                     Associated Offenses


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                                                                                      5/1/2015 06:00
                                                                     Associated Offenses
                                                                                                               to    6/23/2015 14:00            6/23/2015 14:31
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 2          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $358.00
Brand                                  Model                       Color                                    Serial Number
MILWAUKEE                              2612-20                                                              F28AD1452/F28AD1343
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, M18 5/8" SDS PLUS ROTARY HAMMER, SEIZED FROM STARLITE TRANSACTION #36764
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $99.00
Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DCB200                                                               201504-49-11
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 20 VOLT BATTERY, SEIZED FROM STARLITE TRANSACTION #36764
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $99.00
Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DC825B                                                               31533
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 1/4" IMPACT DRIVER, SEIZED FROM STARLITE TRANSACTION #36764
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $99.00
Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DCB200                                                               201519-49-41
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 20 VOLT BATTERY, SEIZED FROM STARLITE TRANSACTION #36773
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $149.00
Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DCS331B                                                              964419
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered
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                                                                    Additional Description
PLACED INTO PROPERTY, JIGSAW, SEIZED FROM STARLITE TRANSACTION #36773
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $129.00
Brand                                  Model                       Color                                    Serial Number
MILWAUKEE                              2645-20                                                              C07BD015060323
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, M18 CORDLESS JIGSAW, SEIZED FROM STARLITE TRANSACTION #36773
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $129.00
Brand                                  Model                       Color                                    Serial Number
BOSCH                                  AG50-11VS                                                            411002867
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED IN PROPERTY, 5" VAR. SP. ANGLE GRINDER, SEIZED FROM STARLITE TRANSACTION #36781
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $129.00
Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DCD771C2                                                             680233
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, COMPACT DRILL/DRIVER KIT, SEIZED FROM STARLITE TRANSACTION #36781
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: LOWES,                                                               $149.00
Brand                                  Model                       Color                                    Serial Number
DEWALT                                 DCS331B                                                              913457
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, JIGSAW, SEIZED FROM STARLITE TRANSACTION #36781
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                            PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,
                                       Model            DEF. DOC. NO. 000055
                                                                   Color
                                                                             $199.00
                                                                                                            Serial Number
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Brand                                  Model                      Color                                    Serial Number
MILWAUKEE                              2625-21                                                             C41DD151101277
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, HACKZALL M18 CORDLESS 1 HANDED RECIP SAW KIT, SEIZED FROM STARLITE TRANSACTION #36795
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $99.00
Brand                                  Model                      Color                                    Serial Number
MAKITA                                 GV5010                                                              154836A
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, DISC SANDER, SEIZED FROM STARLITE TRANSACTION #36803
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $129.00
Brand                                  Model                      Color                                    Serial Number
BOSCH                                  AG50-11VS                                                           40702832
Property Type                   Secondary Action                                     Recovered Value
LOCALLY STOLEN MV
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, 5" VARIABLE SPEED ANGLE GRINDER, SEIZED FROM STARLITE TRANSACTION #36803
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: THE HOME DEPOT ,                                                    $109.00
Brand                                  Model                      Color                                    Serial Number
MILWAUKEE                              2680-20                                                             B96AD13483425
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED IN PROPERTY, M18 CORDLESS 4 1/2" CUTOFF/GRINDER, SEIZED FROM STARLITE TRANSACTION #36803
                                                                    Associated Offenses
Offense
                                                                                                                    Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                     Action
PROPERTY
                 1          PROPERTY                     SEIZED
Owner                                                                       Value
Victim: LOWES,                                                              $139.00
Brand                                  Model                      Color                                    Serial Number
DEWALT                                 D28116                                                              000671
Property Type                   Secondary Action                                     Recovered Value
MISCELLANEOUS
Date Recovered


                                                                   Additional Description
PLACED INTO PROPERTY, ANGLE GRINDER, SEIZED FROM STARLITE TRANSACTION #139.00
                                                                    Associated Offenses


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Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $99.00
Brand                                  Model                       Color                                    Serial Number
RIDGID                                 R24012                                                               0006712014514741
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 1 1/2 PEAK HP COMPACT ROUTER, SEIZED FROM STARLITE TRANSACTION #36808
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $99.00
Brand                                  Model                       Color                                    Serial Number
MAKITA                                 GV5010                                                               186780A
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, DISC SANDER, SEIZED FROM STARLITE TRANSACTION #36808
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $129.00
Brand                                  Model                       Color                                    Serial Number
MILWAUKEE                              6390-21                                                              983ED14372048
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, CIRCULAR SAW KIT, SEIZED FROM STARLITE TRANSACTION #36808
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $269.00
Brand                                  Model                       Color                                    Serial Number
RIDGID                                 0F50150TS                                                            BM145115920
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 5 GAL AIR COMPRESSOR MOBILE AIR TRI STACK, SEIZED FROM J & K TRANSACTION #5094
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                 Quantity   Category                      Action
PROPERTY
                 1          PROPERTY                      SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $79.98
Brand                                  Model                       Color                                    Serial Number
HUSKY                                  683682
Property Type                   Secondary Action                                      Recovered Value
MISCELLANEOUS
Date Recovered
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                                                                    Additional Description
PLACED INTO PROPERTY, 6" PALM SANDER, SEIZED FROM CLARK TRANSACTION #48901
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                   Quantity   Category                    Action
PROPERTY
                   1          PROPERTY                    SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $109.00
Brand                                    Model                     Color                                    Serial Number
HUSKY                                    683214
Property Type                     Secondary Action                                    Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 1/2" IMPACT WRENCH, SEIZED FROM CLARK TRANSACTION #48901
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                   Quantity   Category                    Action
PROPERTY
                   9998       PROPERTY                    SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $99.98
Brand                                    Model                     Color                                    Serial Number
HUSKY                                    683391
Property Type                     Secondary Action                                    Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, 3/8" REACTIONLESS RATCHET, SEIZED FROM CLARK TRANSACTION #48901
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                   Quantity   Category                    Action
PROPERTY
                   1          PROPERTY                    SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $119.00
Brand                                    Model                     Color                                    Serial Number
DEWALT                                   DCD740B                                                            273665
Property Type                     Secondary Action                                    Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY 3/8" RIGHT ANGLE DRILL DRIVER, SEIZED FROM CLARK TRANSACTION #48901
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
                   Quantity   Category                    Action
PROPERTY
                   1          PROPERTY                    SEIZED
Owner                                                                        Value
Victim: THE HOME DEPOT ,                                                     $199.00
Brand                                    Model                     Color                                    Serial Number
DEWALT                                   DCK280C2                                                           696181/899863
Property Type                     Secondary Action                                    Recovered Value
MISCELLANEOUS
Date Recovered


                                                                    Additional Description
PLACED INTO PROPERTY, DRILL DRIVER/IMPACT DRIVER, SEIZED FROM STARLITE TRANSACTION #48901
                                                                     Associated Offenses
Offense
                                                                                                                     Associated With Property
THEFT $200 +/ALL OTHER
Narrative Information

        On June 22nd, 2015 Detective Culver interviewed Mr. Humes after he was arrested when he stole from the Bel Air,
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MD Home Depot. Mr. Humes admitted to the theft along with stealing items from other Home Depots then selling the
items to pawn shops in the Edgewood area. Refer to Detective Culver’s interview under HCSO CC# 201500130322,
the supplemental report will be attached to this report.

     Cpl. Blubaugh conducted a check of the RAPID system for items that Patrick Humes sold to various Pawn Shops
throughout Harford and Baltimore County. It was determined that Mr. Humes sold items to the following pawn shops:
in Harford County, The Associated Pawnbrokers LLC, Starlite Coin & Pawn, Clark Loan and Jewelry Inc, J & K
Associates and Chesapeake Pawnbrokers. In Baltimore County; Liberty Loan. Cpl. Blubaugh discovered that all of
the items pawned by Mr. Humes were new in the box items that had been stolen from Home Depot & Lowes. Cpl.
Blubaugh placed a hold on all of the items that had been sold to the Pawn Shops in the past 30 days. Most of the
transactions occurred at Associated Pawnbrokers and Starlite Coin & Pawn.

     On June 25th, 2015, Cpl. Blubaugh responded to Starlite Coin & Pawn and seized all of the items that Mr. Humes
sold to them. The transaction sheets from RAPID’s are attached to this report along with the seizure forms and a copy
of the Evidence/Property sheets.

    On June 26th, 2015, Cpl. Blubaugh responded to The Associated Pawnbrokers, Clark Loan and Jewelry Inc. and J
& K Associates and seized all of the items that Mr. Humes sold to the businesses. The transaction sheets from
RAPID’s are attached to this report along with the seizure forms and a copy of the Evidence/Property sheets.

     After Cpl. Blubaugh seized the items from The Associated Pawnbrokers LLC and Starlite Coin and Pawn, it was
determined that Mr. Humes sold approximately $12,000.00 of stolen new in the box items to Associated and
approximately $4,000.00 of stolen new in the box items to Starlite. Associated and Starlite paid Mr. Humes about a ¼
of what the retail value the new items cost. Cpl. Blubaugh and a reasonable person would know that those items were
stolen. The amount of the items that Mr. Humes pawned including multiple items that were the same brand and model
is beyond what a person would have owned or purchased for personal use and is reasonable for a person to know that
they were stolen.

    The following list is a list of items that Mr. Humes sold to Associated Pawnbrokers along with the actual retail
value compared to the price paid to Mr. Humes for the stolen property and the price difference of the actual value:

Transaction #                                Retail           Associated           Difference

97764
Bosch Lithium Ion 12 V Impact Drill.                          $159.                $20.               $139.
98053
Milwaukee M18 XC5.0 Battery.                          $129.            $40.                 $89.
Ridgid 18 V HI Cap Battery.                           $99.             $25.                 $74.
98066
2 Ridgid 18 V hi Cap Batteries.                       $198.            $50.                 $148.
98115
2 Dewalt 20V Max Batteries.                           $198.            $40.                 $158.
Dewalt ¼” Impact Drill Driver.                        $119.            $25.                 $94.
98137
Ridgid 18 V Multi Tool.                               $99.             $20.                 $79.
2 Ridgid 18 V Batteries.                              $198.            $50.                 $148.
Ridgid 18V ½ Impact Wrench.                           $139.            $40.                 $99.
98239

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Makita 18V Battery.                          $99.             $20.                 $79.
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Milwaukee 5/8” Rotary Hammer.                     $179.             $80.                 $99.
Ridgid 18V ½” Comp. Impact Wrench.                         $139.                $55.               $84.
98248
Dewalt ¼” Impact Driver.                          $119.             $49.99               $69.01
Makita 18V Cordless Multi Tool.                   $99.              $30.                 $79.
98254
Ridgid Drill Driver / Impact Driver.              $149.             $40.                 $100.
Milwaukee XC5.0 Battery.                          $129.             $20.                 $100.
98271
Dewalt 3/8” Rt Angle Drill/Driver.                $119.             $35.                 $84.
Dewalt Impact Driver.                             $119.             $30.                 $89.
Dewalt 2 pack 20v Batteries.                      $99.              $35.                 $64.
98281
Dewalt 20V Battery.                        $99.            $35.                 $64.
Dewalt 3/8” RT Drill Driver.                      $119.             $35.                 $84.
Makita 1 1/8” Rot Ham 41/2” Grinder                        $299.                $120.              $179.
98299
Dewalt Brushless Oscillating multi tool.          $129.             $35.                 $94.
Dewalt 2pk 20v Batteries.                         $99.              $35.                 $64.
Milwaukee M18 XC5.0 Battery.                      $129.             $30.                 $99.
Dewalt 3/8” Rt. Angle Drill/Driver.               $119.             $35.                 $84.
Milwaukee ½” Hi torque Impact Wrench.             $169.             $60.                 $100.
98309
Dewalt 2pk 18V Batteries.                         $114.99                       $40.               $74.99
Dewalt ½” Hammer Drill.                           $129.             $30.                 $99.
2 Dewalt ¼” Impact Drivers.                       $198.             $46.                 $152.
98342
Ridgid 18V Battery.                        $99.            $22.                 $77.
Ridgid Multi Tool.                                $99.              $22.                 $77.
Stanley 33 Piece Socket Set.                      $42.99            $1.                  $41.99
98365
Milwaukee M18 Battery.                            $139.             $30.                 $109.

Dewalt 2pk 20V Batteries.                         $99.              $35.                 $64.
Dewalt 3/8” Rt. Angle Drill/Driver.               $119.             $35.                 $84.
98377
2 Ridgid 18V Batteries.                           $198.             $44.                 $154.
2 Ridgid 18V Multi Tools.                         $198.             $46.                 $152.
Dewalt 20V Battery.                        $99.            $15.                 $84.
Dewalt 3/8” Rt. Angle Drill/Driver.               $119.             $35.                 $84.
98399
Dewalt 3/8” Rt. Angle Drill/Driver.               $119.             $35.                 $84.
Ridgid 18V ½” Compact Impact Wrench.              $139.             $55.                 $84.
Dewalt 2pk 20V Batteries.                         $99.              $15.                 $84.
Ridgid 18V Battery.                        $99.            $20.                 $79.
98415
Paslode 16 GA Angled Trim Nailer.                 $399.             $120.                $279.
Dewalt ½” Impact Wrench.                          $159.             $45.                 $114.

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98428
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Dewalt ½” Impact Wrench.                             $159.            $50.                 $109.
Milwaukee M18 Impact Wrench.                         $169.            $60.                 $109.
Makita 18V Multi Tool.                               $119.            $40.                 $79.
Dewalt Jigsaw.                                       $149.            $40.                 $109.
98446
Makita 18V Impact Driver.                            $99.             $25.                 $74.
Dewalt ¼” Impact Driver.                             $119.            $35.                 $84.
Dewalt Jigsaw.                                       $129.            $35.                 $94.
Dewalt 2pk 18V Batteries.                            $99.             $30.                 $69.
98465
Ridgid 18V Multi Tool.                               $99.             $23.                 $76.
Dewalt ½” Impact Driver.                             $119.            $35.                 $84.
Dewalt Jigsaw.                                       $129.            $30.                 $99.
Ridgid 18V Battery.                          $99.            $23.                 $66.
98477
Ridgid 1 ½” Peak HP Compact Router.                          $99.                 $50.               $49.
Ridgid 18V Battery.                          $69.            $20.                 $49.
Milwaukee 2 tool Combo kit.                          $249.            $70.                 $179.
2 Milwaukee M18 5/8” Rotary Hammers.                 $358.            $100.                $258.
Dewalt 20V Jigsaw.                                   $149.            $40.                 $109.
98547
Dewalt ½” Impact Wrench.                             $159.            $35.                 $124.
Dewalt Jigsaw.                                       $129.            $40.                 $89.
Milwaukee Sawzall.                           $221.           $75.                 $146.
98560
Ridgid Drill/Driver & Impact Driver kit.             $149.            $35.                 $114.
Dewalt 3/8” Drill/Driver Kit.                        $99.             $25.                 $74.
Dewalt Screwdriver.                          $99.            $20.                 $79.
Milwaukee M18 Jigsaw.                                $129.            $45.                 $84.
98565
Dewalt 4 ½” / 5” Grinder.                            $119.            $30.                 $89.
Dewalt ½” Impact Wrench.                             $163.70                      $40.               $123.70
Dewalt Multi Tool.                                   $129.            $30.                 $99.
98573
Skilsaw MAG 77 7 ¼” Worm Drive.                      $169.            $35.                 $134.
98598
Ridgid 5 Gal Air Compressor.                                 $269.                $125.              $149.
Ridgid 1 ½ pk HP Compact Router.                     $99.             $30.                 $69.
Husky ½ Impact Wrench.                               $99.             $12.                 $87.
Dewalt Jigsaw.                                       $129.            $40.                 $189.
Makita Cordless Multi Tool.                          $119.            $30.                 $89.

   TOTAL:                                    Retail:         Associated:          Difference:
                                             $11,110.68      $3,133.99            $8,054.69

   The following list is a list of items that Mr. Humes sold to Starlite Coin & Pawn along with the actual retail value
compared to the price paid to Mr. Humes for the stolen property and the price difference of the actual value:


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Transaction #                              Retail           Starlite             Difference

36593
Milwaukee M18 Battery.                              $99.             $20.                 $79.
36608
2 Makita 18V Batteries.                             $198.            $30.                 $168.
Ridgid 18V Battery.                        $69.             $25.                 $44.
Dewalt ¼” Impact Driver.                            $119.            $20.                 $99.
36623
Dewalt Drill Driver Kit.                            $139.            $40.                 $99.
2 Makita 18V Batteries.                             $218.            $60.                 $158.
36752
Home Depot Gift Card.                               $126.14                      $63.               $63.14
36757
Dewalt Jigsaw.                                      $149.            $50.                 $99.
Home Depot Gift Card.                               $104.94                      $50.               $54.94
36764
Ridgid 18 V Battery.                       $99.             $20.                 $79.
Dremel Utility Saw.                        $99.             $50.                 $44.
Milwaukee M18 2 tool combo kit.                     $299.            $100.                $199.
2 Milwaukee M18 5/8” Rotary Hammer.                 $358.            $140.                $218.
Dewalt 20V Battery.                        $99.             $15.                 $84.
Dewalt ¼” Impact Driver.                            $99.             $25.                 $74.
36773
Dewalt 20V Battery.                        $99.             $20.                 $79.
Dewalt Jigsaw.                                      $149.            $52.50               $96.50
36781
Bosch 5” Angle Grinder.                             $129.            $30.                 $99.
Dewalt Compact Drill/Driver kit.                    $129.            $50.                 $79
Dewalt Jigsaw.                                      $149.            $50.                 $99.
367959
Milwaukee M18 Hackzall.                             $199.            $75.                 $134.
36803
Makita Disc Sander.                        $99.             $34.                 $65.
Bosch 5” Grinder.                                   $129.            $33.                 $96.
Milwaukee M18 Cutoff/grinder.                       $109.            $33.                 $76.
36808
Dewalt Angle Grinder.                               $139.            $30.                 $109.
Ridgid 1 ½ HP Compact Router.                       $99.             $30.                 $69.
Makita Disc Sander.                        $99.             $30.                 $69.
Milwaukee Circular Saw Kit.                         $129.            $35.                 $94.

   TOTAL:                                  Retail:          Starlite:                   Difference:
                                           $3,932.08        $1,210.50            $2,726.58


    On July 7th, 2015, Cpl. Blubaugh met with Clint Orndorff who is the Loss Prevention and Safety Manager for the
Lowes at 414 Constant Friendship Blvd, Abingdon, MD 21009. Mr. Orndorff provided Cpl. Blubaugh with reports

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where they had Bryan Schneider and Patrick Humes stealing from Lowes. On most occasions Mr. Humes would go in
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                            Incident Report
                                                               Report Type
                                                               Incident Supplement
                                                               Date / Time Occurred                         Date / Time Reported
                                                               5/1/2015 06:00        to   6/23/2015 14:00   6/23/2015 14:31
to the business take items off the shelves and then meet Mr. Schneider in the Garden Department where they would
remove items from the boxes then walk out of the business without paying for them. Mr. Orndorff provided Cpl.
Blubaugh with Lowes theft reports documenting thefts on the following dates from Lowes that involved Mr. Schneider
and Mr. Humes: February 2nd, 19th & 20th, 2015, May 5th, 14th, 15th, 2015 and an attempted theft on May 15th.

      On Monday, July 27th, Cpl. Blubaugh contacted Patrick Humes and requested that he come to the Harford County
Sheriff's Office CID Office so he could be interviewed regarding the thefts. Mr. Humes agreed to come in for an
interview on July 29th, 2015 at 1000 hours.

      On Wednesday, July 29th, 2015, Mr. Humes showed up at his scheduled time for his interview. Cpl. Blubaugh
conducted an interview with Mr. Humes that was recorded by audio and video. During the interview Mr. Humes stated
that in July of 2014 he ran out of options for pain management due to his finances and his addiction to pills so he was
introduced to Heroin by his nephew Bryan Schneider. Mr. Schneider told Mr. Humes that the pills he was taking was
basically just Heroin and it was cheaper than buying pain pills legally. Mr. Humes then started snorting Heroin. Once
Mr. Humes exhausted all of his finances to buy Heroin he was introduced to shoplifting by Mr. Schneider. Starting in
January of 2015 Mr. Humes and Mr. Schneider began stealing misc. power tools and batteries from Home Depot and
Lowes. Mr. Humes said that they would mostly steal from Home Depot, however they did steal a few times from the
Lowes in Abingdon. Most of the thefts from Home Depot took place in Harford County, however they did steal from
Baltimore County a couple of times and from a Home Depot in New Freedom, PA. They would then take the items
they stole and sell them to various pawn shops in order to obtain money to purchase Heroin. Cpl. Blubaugh asked Mr.
Humes why he did most of the transactions with the pawn shops. Mr. Humes replied stating that Mr. Schneider got
caught at a Home Depot in Baltimore County and he was cut off by some pawn shops. Cpl. Blubaugh asked Mr.
Humes if everything he sold to Associated Pawnbrokers, Starlite Coin & Pawn, Clark Loan & Jewelry, J & K
Associates and Liberty Loan, was stolen and he replied “yes” everything but the one older chainsaw at Associated.
The chainsaw was his that he sold. Mr. Humes told Cpl. Blubaugh that he is embarrassed by his actions and wanted to
apologize to the businesses and the pawn shops. Mr. Humes advised Cpl. Blubaugh that when he was finished with the
interview that he was going to go check himself into rehab.

     On Tuesday, August 4th, 2015, Bill Adams met with Cpl. Blubaugh at the CID office for the purpose of checking
the items that were seized from the pawnshops with Home Depot's inventory. It was determined that all except four
items were stolen from Home Depot. The other items appeared to have been stolen from Lowes and one item from
WalMart. Bill Adams also located a couple of power tools with the a sticker on the package that identified it as being
stolen from the New Freedom, PA, Home Depot.

   Cpl. Blubaugh reviewed this investigation with the State’s Attorney’s Office, Chris Smith, who advised Cpl.
Blubaugh that he would indict, Patrick Humes, Bryan Schneider, Associated Pawnbrokers & Starlite Coin & Pawn.

     No other information is available at this time.

     Supplement submitted on August 7th, 2015.




                                                DEF. DOC. NO. 000063
